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15
                                  UNITED STATES DISTRICT COURT
16
                             NORTHERN DISTRICT OF CALIFORNIA
17
                                        OAKLAND DIVISION
18
      In re RIPPLE LABS, INC. LITIGATION              Case No. 4:18-cv-06753-PJH (RMI)
19                                                    Formerly Consolidated/Related
                                                      Case No. 4:21-cv-06518 (Closed 9-27-21)
20
                                                      CLASS ACTION
21
      This Document Relates to:                       DECLARATION OF JAMES TAYLOR-
22                                                    COPELAND IN SUPPORT OF
      All Actions                                     PLAINTIFF’S OBJECTIONS TO BILL
23                                                    OF COSTS
24

25

26

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28
                                                  1
            DECL. OF JAMES TAYLOR-COPELAND ISO PLAINTIFF’S OBJECTIONS TO BILL OF COSTS
                                        4:18-cv-06753-PJH
     12959034v1/016433
     Case 4:18-cv-06753-PJH           Document 448-1        Filed 12/10/24       Page 2 of 2



 1           I, James Taylor-Copeland, hereby declare as follows:

 2           1.      I am an attorney in the law firm of Taylor-Copeland Law and counsel for Lead

 3   Plaintiff Bradley Sostack. I have personal knowledge of the matters set forth herein. If called as a

 4   witness, I could and would testify competently thereto.

 5           2.      I respectfully submit this declaration in support of Plaintiff’s Objections to Ripple

 6   Labs, Inc.’s (“Ripple”) Bill of Costs.

 7           3.      Attached hereto as Exhibit 1 is a true and correct copy of Defendant’s October 1,

 8   2024 Offer of Judgment.

 9           4.      On December 4, 2024, I met and conferred by phone with Ripple’s counsel, Bradley

10   Oppenheimer, regarding Plaintiff’s objections to Ripple’s Bill of Costs. We discussed both

11   Plaintiff’s objections to the timing of Ripple’s Bill of Costs as well as the specific costs that Ripple

12   is seeking. We exchanged emails regarding those objections thereafter and were unable to resolve

13   Plaintiff’s objections. A true and correct copy of that email chain is attached hereto as Exhibit 2.

14           5.      My co-counsel, Susman Godfrey, informed me that the document management

15   platform used to store all productions received from Ripple in this case is currently storing about

16   922 GB of data.

17           6.      Attached hereto as Exhibit 3 is a true and correct copy of a July 9, 2021 letter from

18   Ripple’s counsel, Suzanne Nero, regarding Ripple’s fifteenth production of documents. The letter

19   notes: “These documents that were recently produced in the SEC litigation (SEC v. Ripple Labs,

20   Inc. et al., Case No. 20 Civ. 10832 (AT) (S.D.N.Y.)) and are now being produced to you here in

21   the same form and manner that they were produced in that action.” The vast majority of the

22   documents produced by Ripple in this matter were accompanied by a letter containing identical or

23   similar language indicating that those documents had been previously produced in the SEC Action.

24           I declare under penalty of perjury under the laws of the United States of America that the

25   foregoing is true and correct.

26           Executed this 10th day of December, 2024, at North Fork, California.

27                                                          /s/James Taylor-Copeland
                                                               James Taylor-Copeland
28
                                                        2
            DECL. OF JAMES TAYLOR-COPELAND ISO PLAINTIFF’S OBJECTIONS TO BILL OF COSTS
                                        4:18-cv-06753-PJH
     12959034v1/016433
